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                           The Clerk shall close this file and the consolidated cases.

 Dated: December 4, 2007
